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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
EAG:NMA/LAB                                          271 Cadman Plaza East
F. #2021R01033                                       Brooklyn, New York 11201

                                                     April 29, 2022
By ECF and E-mail

The Honorable Ramon E. Reyes
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Noel Alston
                      Criminal Docket No. 22-178 (RJD)

Dear Judge Reyes:

                The government respectfully submits this letter in anticipation of the defendant’s
initial appearance and in support of the government’s application for a permanent order of
detention pending trial. On April 18, 2022, a grand jury sitting in this district returned an
indictment charging the defendant, Noel Alston, with being a felon in possession of a firearm
and ammunition, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(e)(1).
See Ex. A. Because the defendant has three prior, violent felonies, he is subject to a 15-year
mandatory minimum sentence pursuant to the Armed Career Criminal Act, 18 U.S.C. § 924(e).
For the reasons set forth below, the government respectfully submits that the defendant is both a
danger to the community and a flight risk and that there is no condition or combination of
conditions that will reasonably assure the defendant’s appearance and the safety of the
community. Accordingly, he should be detained pending trial.

   I.      Background

        a. The Defendant’s September 3, 2021 Arrest

               On September 3, 2021, two New York Police Department (“NYPD”) officers
arrested the defendant for possession of a loaded .40 caliber Smith & Wesson pistol, following a
foot pursuit. The officers, who were conducting a routine patrol, observed the defendant double-
parked in a bike lane near the intersection of Throop Avenue and Green Avenue in Bedford-
Stuyvesant, Brooklyn. One of the officers ran the plate on the car, a BMW SUV, and discovered
that the SUV was registered to the defendant and that the defendant was the subject of an active
I-Card that gave the officers notice that there was probable cause to arrest the defendant based on
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a prior incident.1 The I-Card for the defendant related to a January 5, 2021 assault, as discussed
further herein. The defendant was asked his name during the traffic stop and stated that his name
was “Anthony Noel” – wherein his name is actually Noel Alston. The defendant’s criminal
record indicates that he has previously used various aliases similar to his legal name to avoid
detection by law enforcement.2 When the defendant was asked subsequently to step out of the
vehicle, he pushed the driver’s side door into one of the officers and ran down the street. The
second officer pursued the defendant. As the defendant ran, he removed a .40 caliber Smith &
Wesson pistol from his waistband area and threw it seconds before the pursuing officer tackled
him. The .40 caliber Smith & Wesson pistol was later recovered from where it landed after the
defendant discarded it.

       b. The January 5, 2021 Assault

                On January 5, 2021, the defendant got into an argument with a store clerk at a
local bodega in Brooklyn. He returned at closing time and punched the clerk in the face. The
clerk suffered a broken jaw and sought medical attention at a local hospital. During the incident,
the defendant also flashed a firearm and told the clerk, in sum and substance, that if he called law
enforcement he would kill him. Part of the violent incident was caught on surveillance video.
The still image below shows the defendant violently striking the victim, illustrated by the fact
that matter was ejected from the victim’s mouth by the force of the blow. The force was also so
great that the victim stumbled to the ground after being hit.




       1
               An I-Card is an NYPD alert notifying officers that an individual is wanted or a
witness in an ongoing police investigation.
       2
              The defendant’s prior aliases include, Noel Anthony Alston, Newell Austin, Noel
Alston, Noel A. Alston, Austin Newell, and Tony Alston.


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         c. Procedural History

               On September 9, 2021, a New York state grand jury returned an indictment
charging the defendant with Criminal Possession of a Weapon in the Second Degree, in violation
of New York Penal Law § 265.05(3), and Attempted Assault in the First Degree, in violation of
New York Penal Law §§ 120.10(1) and 110.00. The defendant testified in the grand jury.
During his testimony, the defendant admitted to possessing the firearm recovered incident to the
above mentioned traffic stop on September 3, 2021 (although he claimed he was only doing so
temporarily). In connection with the New York state charges, the defendant was released on
cash bail pending trial.
   II.       The Defendant’s Criminal Record

                The instant indictment is indicative of the defendant’s lengthy and violent
criminal career. Between 1984 and 1987, the defendant was separately convicted of three
different robberies, each time pleading guilty to progressively more serious charges.3 He served
a total of more than five years in prison for these offenses and was released on March 30, 1990.
Three years after his release, and while he was on parole, the defendant was convicted of
Attempted Criminal Possession of a Weapon in the Third Degree, in violation of New York
Penal Law §§ 265.02(01) and 110.00, and was sentenced to 18 months to 3 years’ imprisonment.
In 1998, the defendant was convicted of Attempted Second Degree Burglary, in violation of New
York Penal Law §§ 140.25(02) and 110.00. For this, he was sentenced to 12 years to life
imprisonment and a lifetime of probation. The defendant was released from custody on August
31, 2010, and has since been supervised by New York state authorities.
               In light of the defendant’s lengthy criminal history, he is now subject to a 15-year
mandatory minimum pursuant to the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e).
That statute provides that:
                In the case of a person who violates section 922(g) of this title and has
                three previous convictions by any court referred to in section 922(g)(1) of
                this title for a violent felony or a serious drug offense, or both, committed
                on occasions different from one another, such person shall be fined under
                this title and imprisoned not less than fifteen years.
Section 924(e)(2)(B) defines a “violent felony” as “any crime punishable by imprisonment for a
term exceeding one year, . . . , that—(i) has as an element the use, attempted use, or threatened
use of physical force against the person of another.”


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               More specifically, on January 12, 1984, the defendant was convicted of
Attempted Third Degree Robbery, in violation of New York Penal Law §§ 160.05 and 110.00,
and sentenced to one year of imprisonment; on June 5, 1984, he was convicted of Attempted
Second Degree Robbery, in violation of New York Penal Law §§ 160.10(01) and 110.00, and
sentenced to one to three years’ imprisonment; and, on May 8, 1987, the defendant was
convicted of Attempted First Degree Robbery, in violation of New York Penal law
§§ 160.15(01) and 110.00, and sentenced to four to eight years’ of imprisonment.


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               Each of the defendant’s three prior robbery convictions are a “violent felony”
within the meaning of the ACCA. See United States v. Pereira-Gomez, 903 F.3d 155, 166 (2d
Cir. 2018) (holding that all grades of New York robbery and attempted robbery are crimes of
violence under the sentencing guidelines); United States v. Thomas, 765 F. App’x 553, 559 (2d
Cir. 2019) (“Cases decided after Thomas’s sentencing make clear that all degrees of robbery and
attempted robbery under New York law constitute violent felonies within the meaning of the
ACCA”).
   III.    Legal Standard
               Federal courts are empowered to order a defendant’s detention pending trial upon
a determination that the defendant is either a danger to the community or poses a risk of flight.
See 18 U.S.C. § 3142(e). A finding of dangerousness must be supported by clear and convincing
evidence. See United States v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995). A finding of risk of
flight must be supported by a preponderance of the evidence. See United States v. Jackson, 823
F.2d 4, 5 (2d Cir. 1987). The government is entitled to proceed by proffer. See United States v.
LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000).

               The factors to be considered in determining whether the applicable standard has
been met include: (1) the nature and circumstances of the offense charged; (2) the weight of the
evidence; (3) the history and characteristics of the defendant; and (4) the nature and seriousness
of the danger to any person or the community that would be posed by the defendant’s release. 18
U.S.C. § 3142(g); see also United States v. Jacobson, 502 F. App’x 31, 32 (2d Cir. 2012).

                The concept of “dangerousness” encompasses not only the effect of a defendant’s
release on the safety of identifiable individuals, such as victims and witnesses, but also “the
danger that the defendant might engage in criminal activity to the detriment of the community.”
United States v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting legislative history).

   IV.     The Defendant Should Be Detained Pending Trial
               As an initial matter, because the defendant is charged with a crime of violence,
see 18 U.S.C. § 3142(g)(1); United States v. Watkins, 940 F.3d 152, 162 (2d Cir. 2019), the
government may seek detention on the basis of dangerousness. 18 U.S.C. § 3142(f)(1)(A). For
the foregoing reasons, detention pending trial is appropriate.

                Each of the § 3142(g) factors weigh in favor of the defendant’s detention. First,
the charged offense is serious and the defendant is a danger to the community. The possession of
a loaded firearm by a convicted felon presents a serious risk of danger for the self-evident reason
that a firearm can and is intended to cause substantial harm. United States v. Dillard, 214 F.3d
88, 104 (2d Cir. 2000) (finding that illegal possession of a firearm by a previously convicted
felon is a crime of violence because it involves a substantial risk of violence). The defendant’s
criminal history, and the January 5, 2021 assault, make clear his willingness to engage in
physical violence. At the time of his arrest, the defendant was wanted for a serious assault which
left his victim hospitalized and during which he used a firearm to intimidate the victim. Despite
his lengthy criminal history, the defendant has not been deterred from unlawfully possessing
firearms. In addition to posing a threat to the community, the defendant poses a distinct threat to


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the victim in the state assault case, an independent basis for detention. See 18 U.S.C.
§ 3142(f)(2)(B) (authorizing detention where the defendant poses a serious risk that he will
“threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective
witness”). As described above, the defendant expressly threatened that individual, stating that he
would kill the victim if, as he did, reported the defendant’s conduct to law enforcement.

                Second, the likelihood of a lengthy sentence is incentive for the defendant to flee.
The defendant is currently facing a 15-year mandatory minimum sentence. In addition to the
video of the traffic stop, the defendant admitted to possessing the firearm recovered incident to
the stop. The high likelihood that the defendant will be convicted and sentenced to at least 15
years in prison is an incentive for him to flee before trial. See United States v. Millan, 4 F.3d
1038, 1046 (2d Cir. 1993) (explaining that the government’s strong evidence of guilt “provides a
considerable additional incentive [for a defendant] to flee”); see also United States v. Blanco,
570 Fed. Appx. 76, 77 (2d Cir. 2014) (finding that a mandatory minimum sentence of five years
gave the defendant “a strong motive to flee before trial”). Further, the defendant’s behavior
during the traffic stop shows that he is not afraid to flee from law enforcement or to give a false
name to evade detection.

                Third, the defendant’s criminal history weighs in favor of detention as there are
no condition or combination of conditions that will ensure the safety of the community. At the
age of 56, the defendant has spent over 17 years of his life in jail. The recent charges filed
against the defendant both in state and federal court show the defendant’s complete disregard for
the criminal justice system and the consequences for unlawful, violent behavior. In addition to
the three prior robbery convictions that qualify the defendant for enhanced sentencing under
ACCA, he has prior convictions for attempted possession of a weapon and attempted burglary.
Notably, the last sentence the defendant served was for over 11 years. The defendant’s criminal
record is the best evidence that he has not been deterred from committing violent crimes and will
likely not be deterred unless he is detained.




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      V.       Conclusion

                   For all of the foregoing reasons, an order of detention should be entered pending
trial.

                                                        Respectfully submitted,

                                                        BREON PEACE
                                                        United States Attorney

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cc:        Clerk of Court (by email and ECF)




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